Case 3:19-cv-01196-GPC-KSC Document 9 Filed 08/02/19 PagelD.94 Page 1 of 6

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

A. TRENT RUARK, individually and
on behalf of all others similarly situated,

Plaintiff,
VS.

SQUARE, INC., a Delaware
corporation; Does 1-10,

Defendants.

 

 

Case No. 3:19-cv-01196-GPC-KSC

REQUEST FOR JUDICIAL
NOTICE IN SUPPORT OF
SQUARE, INC.’S MOTION TO
DISMISS PLAINTIFF’S
COMPLAINT

[PUBLIC —- REDACTED]

Filed Concurrently with Notice of

Motion and Motion; Mem. P. & A.;

Blayid Decl.; Brady Decl.; Motion to
ea

Judge: Hon. Gonzalo P. Curiel
Date: November 15, 2019
Time: 1:30 p.m.

Crtrm.: 2D

Case No. 3:19-cv-01196-GPC-KSC

 

REQUEST FOR JUDICIAL NOTICE

 
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L, INTRODUCTION
Pursuant to the incorporation-by-reference doctrine and Federal Rule of
Evidence 201, Defendant Square, Inc. (“Square”) respectfully requests that this
Court take judicial notice of the following documents in support of Square’s Motion
to Dismiss:
9 Exhibit 1 to the Declaration of Megan Brady in Support of Square,
Inc.’s Motion peice (ee ; Declaration”’), filed concurrently:
Receipt from dated May 3, 2019.
e Exhibit A to the Declaration of Jonathan H. Blavin in Support of

Square, Inc.’s Motion to Dismiss (“Blavin Declaration”),
_ List of treatments and services available at

  
 

(last visited July 22,

Il. ARGUMENT!

A. The Court May Consider Exhibit 1 Under the Incorporation By
Reference Doctrine

Exhibit 1 is the May 3, 2019 receipt that Plaintiff alleges was misdirected to
his friend. (£.g., Compl. § 21.) The Court may take notice of this receipt under the
incorporation-by-reference doctrine. On a motion to dismiss, a district court may
“consider certain materials—documents attached to the complaint, documents
incorporated by reference in the complaint, or matters of judicial notice—without
converting the motion to dismiss into a motion for summary judgment.” United
States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003). “Even if a document is not
attached to a complaint, it may be incorporated by reference into a complaint if the
plaintiff refers extensively to the document or the document forms the basis of the
plaintiff's claim.” Jd.; see also, Davis v. HSBC Bank Nev., N.A., 691 F.3d 1152,
1160 (9th Cir. 2012) (noting that a court “may treat such . . . document{[s] as part of

 

' Square’s Motion can and should be granted regardless of whether the Court takes
judicial notice of the above exhibits. But in the event the Court would find
consideration of these documents useful, it may do so under the law of this Circuit.

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the complaint, and thus may assume that [their] contents are true for purposes of a
motion to dismiss under Rule 12(b)(6)” (citations omitted).)

Exhibit 1 meets this requirement. Plaintiff's receipt forms the basis for
Plaintiffs core factual allegations in this case—which is entirely about a
misdirected receipt. For example, in paragraph 21 of the complaint, Plaintiff alleges
that when he “paid for a medical service using Square’s credit card processing on
May 3, 2019, the invoice was sent via text message to Plaintiffs friend.” (Compl.
4/21.) It was Square’s alleged failure “to secure this electronic communication” or
“get a person’s consent to send this information in the first place” (id.) that “forms
the basis” for the four claims alleged in the complaint, Ritchie, 342 F.3d at 908.
(See also Compl. {| 13-16, 20, 24 (discussing Square’s “Automatic Receipt”
practices”); | 40-41 (allegedly misdirected receipt constituted a violation of
California Civil Code sections 1798.8.5 and 1798.82); 4 52 (alleging negligent
release of medical information that violated California Civil Code section 56.11);

4 57 (alleging Square’s “acts and practices, as alleged in [the] complaint” violated
the UCL); § 73 (alleging that an unauthorized individual accessed Plaintiff’ s
personal health information due to Square’s purported negligence).)

This Court can and should consider the contents of Exhibit 1 in deciding
Square’s motion to dismiss, as the receipt is fully incorporated into the complaint by
reference and is central to Plaintiff's allegations. See, e.g., Knievel v. ESPN, 393
F.3d 1068, 1076-77 (9th Cir. 2005) (incorporating “surrounding web pages” related
to the specific representations cited in the complaint where the web pages were
needed for context, even though the plaintiff did not specifically allege the contents
of those web pages in the complaint); Lopez v. Stages of Beauty, LLC, 307 F. Supp.
3d 1058, 1064 (S.D. Cal. 2018) (granting judicial notice of receipt the plaintiff
referenced and relied upon in the complaint, where “Plaintiff deliberately omits the

receipt he received for the product” in complaint).

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Consideration of the receipt serves the core purpose of the incorporation-by-
reference doctrine: to “prevent plaintiffs from selecting only portions of documents
that support their claims, while omitting portions of those very documents that
weaken—or doom—their claims.” Khoja v. Orexigen Therapeutics, Inc., 899 F.3d
988, 1002 (9th Cir. 2018); see also In re Easysaver Rewards Litig., 737 F. Supp. 2d
1159, 1166 (S.D. Cal. 2010) (“One purpose of the rule is to prevent a plaintiff from
quoting ‘an isolated statement from a document’ in the complaint, when the
complete document refutes the allegations.”). Here, Plaintiff urges the Court to
believe that his confidential medical information was revealed to his friend via the
May 3 receipt, without attaching the receipt itself. As explained in Square’s Motion
to Dismiss, the allegations in the complaint do not plead that any protected medical
information was disclosed via this receipt, and the receipt itself confirms the
deficiency of Plaintiff's allegations. It includes only the name and address ofl
re. the amount Plaintiff was charged. Under Eisenhower Med. Ctr. v.
Superior Court, 226 Cal. App. 4th 430, 435 (2014), this does not amount to
information revealing Plaintiff's “medical history, mental or physical condition, or
treatment,” and thus his claims lack merit.

Moreover, the authenticity of the receipt is not in question. The concurrently
filed declaration attests to the fact that this is the only receipt matching the
allegations of the complaint that Square has in its systems. See Brady Decl. § 3;
(Compl. § 21 (alleging that Plaintiff on May 3, 2019 paid for a medical service using
Square’s “credit card processing” services)). Courts routinely take judicial notice of
sales receipts where the receipt is alleged and at issue in the case. See Lopez, 307 F.
Supp. 3d at 1064 (granting judicial notice of receipt where “Plaintiff deliberately
omits the receipt he received for the product” in complaint); Sperling v. DSW Inc.,
No. EDCV 15-1366-JGB (SPx), 2015 WL 13309476, at *1 n.1 (C.D. Cal. Nov. 19,
2015) (taking judicial notice of “receipt” of “transaction” as a “document

incorporated by reference in the FAC”); Silva v. Unique Beverage Co., LLC, No.

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3:17-cv-00391-HZ, 2017 WL 4896097, at *4 n.3 (D. Or. Oct. 30, 2017) (taking
judicial notice of receipt under incorporation by reference doctrine where plaintiff

alleged she “paid too much”).

B. The Court May Consider Exhibit A As It Is a Publicly Available
Webpage Whose Contents Are Not Subject to Dispute

Exhibit A is a publicly available webpage whose contents are not subject to

reasonable dispute. It is a webpage from the EE «si: that lists
the offered services and treatments » Li

Under Federal Rule of Evidence 201(b)(2), a court may take judicial notice of
a fact “not subject to reasonable dispute because it . . . can be accurately and readily
determined from sources whose accuracy cannot reasonably be questioned.” Jd.
Courts in this circuit routinely take judicial notice of websites and their contents.
See, e.g., Knievel, 393 F.3d at 1076-77; Matthews v. Nat’l Football League Mgmt.
Council, 688 F.3d 1107, 1113 n.5 (9th Cir. 2012) (statements on NFL website);
Perkins v. LinkedIn Corp., 53 F. Supp. 3d 1190, 1205 (N.D. Cal. 2014) (taking
judicial notice of LinkedIn “screen [that] appears between two screens cited” in
complaint but omitted by plaintiffs); Wagner v. Terumo Med. Corp., No.
18CV1007-MMA (MSB), 2018 WL 6075951, at *3 (S.D. Cal. Nov. 21, 2018) (list
of locations on Terumo’s website); Ayala v. Cty. of Imperial, No. 15CV397-LAB
(NLS), 2017 WL 469016, at *2 (S.D. Cal. Feb. 3, 2017) (statements on DEA’s

website).

The list of services and treatments on the EE « edsite (the
website for the [IIE «ferenced in Plaintiff's receipt) is publicly

available and not subject to reasonable dispute. Accordingly, the Court should grant

judicial notice.

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1||T0. CONCLUSION
2 Pursuant to the doctrine of incorporation by reference and Federal Rule of
3 || Evidence 201, and for the reasons stated above, the Court should take judicial notice
4 || of Exhibit 1 to the Brady Declaration and Exhibit A to the Blavin Declaration.
5
6||DATED: August 2, 2019 MUNGER, TOLLES & OLSON LLP
7
8
9 By: /s/ Jonathan H. Blavin
JONATHAN H. BLAVIN
10 BRYAN H. HECKENLIVELY
11 JENNIFER L. BRYANT
ia SARA A. McDERMOTT
13 Attorneys for SQUARE, INC.
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